     Case: 1:19-cv-03480 Document #: 16 Filed: 08/07/19 Page 1 of 2 PageID #:36




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                              :
GEORGE MOORE,                                 :
                                              :
       Plaintiff,                             :     Case No. 1:19-cv-03480
                                              :
v.                                            :     Honorable Gary Feinerman
                                              :
STATE COLLECTION SERVICE, INC.,               :     Magistrate Judge Jeffrey T. Gilbert
                                              :
       Defendant.                             :
                                              :
                                              /

                                 NOTICE OF SETTLEMENT

       Plaintiff George Moore hereby notifies this Honorable Court that the parties named in the

above-captioned case have reached an agreement in principle to settle this matter. Plaintiff

respectfully requests that the Court vacate all pending deadlines and allow 60 days within which

to finalize the settlement and file dispositive documentation.


                                              Respectfully submitted,

                                              GEORGE MOORE,
                                              Pro Se


       DATED: August 7, 2019                  By: /s/ George Moore
                                                  George Moore
                                                  906 Chatham Drive
                                                  Carol Stream, IL 60188
                                                  Email: gmoore3@att.net
                                                  Telephone: (630) 699-3205
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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2019, I filed the foregoing with the Court’s CM/ECF

system, which served the same on counsel of record.


                                            By: /s/ George Moore
                                                George Moore
